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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION
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  UNITED STATES OF AMERICA,
                                                    CR 16--01-BU-DLC
                       Plaintiff,

        vs.                                          ORDER

  JACQUELINE MAE FOSSIANO,

                       Defendant.

      Before the Court is Defendant Jacqueline Mae Fossiano's ("Fossiano")

Motion for Early Termination of Probation (Doc. 92). After pleading guilty to

Distribution ofMethamphetamine in violation of 21 U.S.C. § 841(a), Fossiano was

sentenced to four years of probation on August 25, 2016. (Doc. 49 at 1-2.)

F ossiano has completed over half of her term of probation without incident and

requests early termination of her probation pursuant to 18 U.S.C. § 3564(c). (Doc.

93 at 2-3.)

      Section 3564(c) provides district courts with discretion to terminate a term

of probation if the court is satisfied that such action "is warranted by the conduct of

the defendant and the interest of justice" and the defendant has completed at least

one year of probation in the case of a felony. 18 U.S.C. § 3564(c). Courts should



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consider a subset of the factors set forth in 18 U.S.C. § 3553(a) to determine

whether termination of a term of probation is appropriate. Id.

       In light of the referenced subset of section 3553(a) factors, specifically

including the nature and circumstances of the offense, defendant's history and

characteristics, and success of probation to date, the Court finds that Fossiano has

shown that early termination of probation is justified. F ossiano has served more

than one year of probation and the interests of justice and judicial economy weigh

in favor of terminating the remaining time. Fossiano has satisfactorily complied

with the conditions of her probation and required minimal attention from her

supervising officer since the inception of her term. 1 Accordingly,

       IT IS ORDERED that Fossiano's Motion for Early Termination of Probation

(Doc. 92) is GRANTED. The term of probation imposed by this Court on August

25, 2016, is hereby TERMINATED and Fossiano is DISCHARGED from her

sentence of probation at this time.
                           ~
       DATED this~ day of December, 2018.



                                                     Dana L. Christensen, Chief Judge
                                                     United States District Court


1
  While this Court normally requires the completion of two-thirds of a term of probation prior to
early discharge, Fossiano is only a few months short of that mark and, in light of her
rehabilitation and success on probation, the Court will grant her request.
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